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 6                         IN THE UNITED STATES DISTRICT COURT
 7                             FOR THE DISTRICT OF ARIZONA
 8                                           )   No. CR-21-00095-PHX-SPL
     United States of America,
 9                                           )
                                             )   FINDINGS AND RECOMMENDATION
                             Plaintiff,      )   OF THE MAGISTRATE JUDGE UPON A
10                                           )
     vs.                                         PLEA OF GUILTY AND ORDER
                                             )
11                                           )
     Eric Joseph Miller,                     )
12                                           )
13                          Defendant.       )
                                             )
14                                           )

15   TO THE HONORABLE STEVEN P. LOGAN, UNITED STATES DISTRICT JUDGE:
16         Upon Defendant’s request to enter a plea of guilty pursuant to Rule 11 of the
17   Federal Rules of Criminal Procedure, this matter came on for hearing before United
18   States Magistrate Judge Michael T. Morrissey on February 17, 2021, with the written
19   consents of Defendant, counsel for Defendant, and counsel for the United States of
20   America.
21         The undersigned Magistrate Judge accepted Defendant’s waiver of indictment
22   after inquiry was made of Defendant as to the understanding of the right to prosecution
23   by indictment. Defendant’s written waiver constitutes a part of the plea agreement lodged
24   with the Court.
25         The hearing on Defendant’s plea of guilty was in full compliance with Rule 11 of
26   the Federal Rules of Criminal Procedure, before the undersigned Magistrate Judge in
27   open court and on the record. In consideration of that hearing and the statements made by
28   Defendant under oath on the record and in the presence of counsel, and the remarks of the
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 1   Assistant United States Attorney and of counsel for Defendant,
 2          I FIND as follows:
 3          (1) that Defendant understands the nature of the charge to which Defendant
 4   pleads and the elements of the offense(s) to which Defendant is pleading guilty;
 5          (2) that Defendant understands the right to trial by jury, to persist in a plea of not
 6   guilty, to the assistance of counsel, and appointed counsel if necessary at trial and at
 7   every other stage of the proceeding, to confront and cross-examine adverse witnesses, the
 8   right against compelled self-incrimination, to testify and present evidence, and to compel
 9   the attendance of witnesses;
10          (3) that Defendant understands any maximum possible penalty for the offense to
11   which Defendant is pleading guilty, including imprisonment, fine and supervised release,
12   and where applicable, any mandatory minimum penalty; that Defendant understands the
13   effect of the supervised release term; that Defendant understands the Court’s authority to
14   order restitution and its obligation to impose a special assessment and any applicable
15   forfeiture;
16          (4) that Defendant understands the Court’s obligation to calculate the applicable
17   sentencing guideline range and to consider that range, possible departures under the
18   Sentencing Guidelines, and other sentencing factors under 18 U.S.C. § 3553(a); that
19   Defendant understands that the sentencing guidelines are advisory, not mandatory, and
20   that the Court may sentence outside those guidelines;
21          (5) that Defendant understands that answers given by Defendant may later be used
22   in a prosecution for perjury or false statement;
23          (6) that Defendant understands that by pleading guilty Defendant is waiving the
24   right to a jury trial;
25          (7) that Defendant understands the terms of any plea agreement provision waiving
26   the right to appeal or to collaterally attack the sentence, and has knowingly, intelligently
27   and voluntarily waived those rights;
28          (8) that the plea of guilty by Defendant has been knowingly and voluntarily made


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 1   and is not the result of force or threats or of promises apart from the plea agreement
 2   between the parties;
 3          (9) that Defendant is competent to plead guilty;
 4          (10) that Defendant is satisfied with the representation provided by defense
 5   counsel; and
 6          (11) that there is a factual basis for Defendant’s plea.
 7          I RECOMMEND that the Court accept Defendant’s plea of Guilty to the
 8   Information.
 9                                             ORDER
10          IT IS ORDERED that any objection to the guilty plea proceedings and any
11   request for supplementation of those proceedings be made by the parties in writing and
12   shall be specific as to the objection or request made. All objections or requests for
13   supplementation shall be filed within fourteen (14) days of the date of service of a copy
14   of these findings unless extended by an Order of the assigned judge.
15          IT IS FURTHER ORDERED that any letters, documents, or other matters
16   Defendant would like the sentencing judge to consider before sentencing (including the
17   English translation of any writings not in English) must be submitted in paper form with
18   the original to the probation office and copies to the sentencing judge and opposing
19   counsel no later than five (5) business days prior to the sentencing date or they may be
20   deemed untimely by the sentencing judge and not considered. No more than ten (10)
21   character letters shall be submitted by defense counsel, unless otherwise ordered by the
22   Court. Character letters shall not be mailed directly to the sentencing judge by any
23   family members or other persons writing in support of Defendant. Character letters or a
24   notice of service of such letters shall not be filed electronically unless otherwise ordered
25   by the Court.
26          IT IS FURTHER ORDERED that any motions for upward or downward
27   departures or any sentencing memoranda must be filed at least seven (7) business days
28   prior to the sentencing date. Responses are due three (3) business days prior to the


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 1   sentencing date.   Any motion to continue sentencing must be filed promptly upon
 2   discovery of the cause for continuance and must state the cause with specificity. Motions
 3   to continue sentencing filed fewer than fourteen (14) days before sentencing are
 4   disfavored. If either party intends to call a speaker at sentencing, other than the
 5   Defendant, counsel must notify the Courtroom Deputy at least 3 business days in
 6   advance.
 7         Dated this 17th day of February, 2021.
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10                                                  Honorable Michael T. Morrissey
                                                    United States Magistrate Judge
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